         Case: 1:22-cv-00166-MPM-RP Doc #: 9 Filed: 06/09/23 1 of 1 PageID #: 31




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                ABERDEEN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                                CIVIL ACTION NO.: 1:22-CV-166-MPM-RP

SHEKKALA HORTON                                                                       DEFENDANT


                                     DEFAULT JUDGMENT

         The Defendant, Shekkakla Horton, having failed to appear, plead or otherwise defend

in this action, and default having been entered on May 11, 2023, and counsel for Plaintiff

having requested judgment against the defaulted Defendant and having filed a proper motion and

declaration in accordance with Federal Rule of Civil Procedure 55 (a) and (b);

         Judgment is hereby entered in favor of Plaintiff United States of America and

against Defendant Shekkala Horton, in the amount of $92,264.00, plus interest on the judgment

at the legal rate until the judgment is satisfied, and a separate filing fee of $402.00 to the Clerk of

Court.

         This the 9th day of July, 2023.



                                               s/ David Crews
                                               Clerk of Court
